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                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF PUERTO RICO


        IN THE MATTER OF:
                                                                 CASE NO. 18-05288 (ESL)
        SKYTEC, INC.

                 Debtor                                          CHAPTER 11



               MOTION FOR EXTENSION OF TIME TO FILE OPPOSITION
           TO MOTION TO REQUEST APPOINTMENT OF CHAPTER 11 TRUSTEE


        TO THE HONORABLE COURT:

                 COMES NOW Debtor through the undersigned counsel and very respectfully states

        and prays as follows:

                 1.    On September 12, 2018, Debtor filed its voluntary petition for

        reorganization under the provisions of Chapter 11 of the Bankruptcy Code, and as of that

        date has been operating its business and managing its affairs as a debtor in possession, as

        provided for in the Bankruptcy Code. See Docket No. 1.

                 2.    On March 25, 2019, Logistic Systems, Inc. (“Movant”) filed a motion to

        request appointment of Chapter 11 Trustee. See Docket No. 149.

                 3.    Even though the Court has not granted Debtor a period to object the motion

        filed by Movant, said motion included a 14-day objection period language, which expires

        today.

                 4.    In order to conclude its opposition to said motion and considering the

        upcoming holidays, Debtor needs an additional twenty-one (21), i.e. until April 29, 2019, to

        file its opposition to Docket No. 149.
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        Skytec, Inc.
        Motion for Extension to file Opposition                                       Page !2
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               WHEREFORE, it is respectfully requested that this Court grants Debtor until at

        least April 29, 2019 to file its opposition to Docket No. 149.

               CERTIFICATE OF SERVICE: I hereby certify that on this same date, I

        electronically filed the foregoing with the Clerk of the Court using the CM/ECF systems,

        which will send notification of such filing to the Office of the United States Trustee, and

        all participants of CM/EMF, including to Movant’s attorneys.


               San Juan, Puerto Rico, this 8th day of April, 2019.


                                                   s/ Alexis Fuentes-Hernandez, Esq.
                                                   Alexis Fuentes-Hernández, Esq.
                                                   USDC-PR 217201

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